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              Exhibit 11
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 From:             Ross, Matthew
 To:               Rusyn, Ivan
 Subject:          RE: "collateral damage"
 Date:             Thursday, January 8, 2015 4:50:00 PM


 Thank you.


 From: Rusyn, Ivan [mailto:IRusyn@cvm.tamu.edu]
 Sent: Thursday, January 08, 2015 4:36 PM
 To: Ross, Matthew
 Subject: RE: "collateral damage"

 Great! Here is one more. Not an obvious metabolism from the title and abstract, but has some good
 info.

 From: Ross, Matthew [mailto:MRoss@cvm.msstate.edu]
 Sent: Thursday, January 08, 2015 4:27 PM
 To: Rusyn, Ivan
 Subject: RE: "collateral damage"

 Thanks, Ivan – hadn’t seen this one.

 I’m furiously trying to get my sections done by Tuesday! Into glyphosate right now. Not much
 interesting metabolism, which makes it an easier one in some respect.

 Best regards,
 Matt


 From: Rusyn, Ivan [mailto:IRusyn@cvm.tamu.edu]
 Sent: Thursday, January 08, 2015 3:53 PM
 To: Ross, Matthew
 Subject: "collateral damage"

 Hi Matt,
 Hope you had a good holiday break. I downloaded this paper through TAMU and it is more relevant
 to your sections, I guess. B
                            Best regards,
 Ivan

 Ivan Rusyn, MD, PhD
 _____________________________________
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